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State of Florida
Department of State

I certify from the records of this office that LEGACY RENOVATIONS &
POOL SERVICE INC is a corporation organized under the laws of the State of
Florida, filed on March 22, 2024.

The document number of this corporation is P24000020533.

I further certify that said corporation has paid all fees due this office through
December 31, 2024 and that its status is active.

I further certify that said corporation has not filed Articles of Dissolution.

Given under my hand and the
Great Seal of the State of Florida
at Tallahassee, the Capital, this
the Tenth day of April, 2024

LAE

Secretary of State

Tracking Number: 2503815270CU

To authenticate this certificate,visit the following site,enter this number, and then
follow the instructions displayed.

https://services.sunbiz.org/Filings/CertificateOfStatus/CertificateAuthentication

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Department of State / Division of Corporations / Search Records / Search by Entity Name /

Filed 11/15/24

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DIVISION OF CORPORATIONS

Detail by Entity Name

Florida Profit Corporation
LEGACY RENOVATIONS & POOL SERVICE INC

Filing Information

Document Number P24000020533
FEI/EIN Number NONE

Date Filed 03/22/2024
State FL

Status ACTIVE

Principal Address

11210 ORANGE HIBISCUS LN
PALM BEACH GARDENS, FL 33418

Mailing Address

11210 ORANGE HIBISCUS LN
PALM BEACH GARDENS, FL 33418

Registered Agent Name & Address

LIONETTI, MARK R
11210 ORANGE HIBISCUS LN
PALM BEACH GARDENS, FL 33418

Officer/Director Detail
Name & Address

Title PD

LIONETTI, MARK R

11210 ORANGE HIBISCUS LN
PALM BEACH GARDENS, FL 33418
Title VPD

LIONETTI, DAVIDA

11210 ORANGE HIBISCUS LN
PALM BEACH GARDENS, FL 33418

Annual Reports

No Annual Reports Filed

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